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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re: LINDA B. WOOD-BOYLE                         Chapter 13
       DOUGLAS R. WOOD-BOYLE                       Case No.: 11-19152-JNF

                      Debtors

                           NOTICE OF WITHDRAWAL OF
                  TRUSTEE’S MOTION FOR ORDER DISMISSING CASE

        Now comes Carolyn A. Bankowski, Standing Chapter 13 Trustee, and withdraws her
Motion for Order Dismissing this case, which Motion was filed January 11, 2016. As grounds
therefore, the Trustee asserts that the grounds in the Motion have been satisfied.

Dated: January 28, 2016                            Respectfully submitted,
                                                   Carolyn A. Bankowski
                                                   Standing Chapter 13 Trustee
                                                   By:/s/ Carolyn A. Bankowski
                                                   Carolyn A. Bankowski (BBO#631056)
                                                   Patricia A. Remer (BBO#639594)
                                                   Office of the Chapter 13 Trustee
                                                   PO Box 8250
                                                   Boston, MA 02114-0022
                                                   (617) 723-1313
                                                   13trustee@ch13boston.com

                                     Certificate of Service

        The undersigned hereby certify that a copy of the within Notice of Withdrawal by Chapter
13 Trustee of Motion for Order Dismissing Case was served upon the Debtors’ counsel by
electronic notice, at the address set forth below.

Dated: January 28, 2016                     /s/ Carolyn A. Bankowski


Jeffrey M. Frankel, Esquire
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